Case 3:17-cv-00072-NKM-JCH Document 223 Filed 02/14/18 Page 1 of 1 Pageid#: 1144

                                                                                          02/14/2018
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION

   ELIZABETH SINES, ET AL.,                            CASE NO. 3:17-CV-00072
                                  Plaintiffs,
   v.                                                  ORDER
   JASON KESSLER, ET AL.,
                                                       JUDGE NORMAN K. MOON
                                  Defendants.


         Multiple Defendants filed motions to dismiss in response to Plaintiffs’ original complaint.

  (See dkts. 93 (filed on behalf of Michael Hill, League of the South, and Michael Tubbs), 99

  (filed on behalf of Matthew Parrott), 104 (filed on behalf of Nationalist Front), 111 (filed on

  behalf of Christopher Cantwell), 113 (filed on behalf of National Socialist Movement), 115 (filed

  on behalf of Jeff Schoep), 117 (filed on behalf of Michael Enoch Peinovich), 136 (filed on behalf

  of Nathan Damigo, Identity Evropa, and Elliot Kline), 138 (filed on behalf of Vanguard

  America), 139 (filed on behalf of Jason Kessler), 141 (filed on behalf of Robert Azzmador Ray),

  143 (filed on behalf of Matthew Heimbach and Traditionalist Worker Party)).             However,

  Plaintiffs filed an amended complaint on January 5, 2018. (Dkt. 175). Each of these Defendants

  then filed new motions to dismiss. (See dkt. 201, 205, 207, 209, 212). Accordingly, the motions

  to dismiss the original complaint, (dkts. 93, 99, 104, 111, 113, 115, 117, 136, 138, 139, 141,

  143), are now DENIED as moot.

         It is so ORDERED. The Clerk of the Court is hereby directed to send a certified copy of

  this Order to Plaintiffs, Defendants, and all counsel of record.

         Entered this _____
                       14th day of February 2018.
